         Case 4:07-cr-00276-JMM Document 76 Filed 02/10/09 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION



UNITED STATES OF AMERICA

Vs.                         CASE NO. 4:07cr00276-02 JMM

ROSEMARY WILLIAMS


                                         ORDER

       Due to a clerical error, the judgment entered November 14, 2008 (DE #50) is

amended.

       Condition of supervision #15, is imposed until all criminal penalties have been

satisfied.

       The remaining portions of the Judgment will remain in full force and effect.

       The Clerk is directed to provide a copy of this order to the United States Probation

Office and the United States Marshals Office.

       IT IS SO ORDERED THIS 10th day of February, 2009.




                                           UNITED STATES DISTRICT JUDGE
